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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

  UNITED STATES OF AMERICA,

                    Plaintiff,               CASE NUMBER 15-cr-20652

  -v-                                        HON. GEORGE CARAM STEEH

  D-5 QUINCY GRAHAM,

                    Defendant.
                                     /

           GOVERNMENT’S SENTENCING MEMORANDUM

        Quincy Graham is a long-standing, older, member of the Seven

  Mile Bloods [SMB] – identified as part of the “55 Crew,” as far back as

  2004. Since 2005, Graham possessed and distributed narcotics in both

  Detroit, in the Redzone, and in West Virginia, often with SMB

  members. And while the government’s investigation did not indicate

  that Graham was a shooter during the violent summer of 2015 after the

  murder of his friend, SMB leader Devon McClure, a.k.a. “Block,”

  Graham was willing to provide ammunition to D-1 Billy Arnold and was

  arrested illegally possessing a gun himself. Graham faces punishment

  for his long-term involvement with the SMB RICO conspiracy with

  advisory guidelines of 84 to 105 months incarceration. The United
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  States recommends a sentence of 84 months on Count One.

                        I. STATEMENT OF FACTS

        On September 13, 2018, Quincy Graham pleaded guilty to Count

  One, RICO Conspiracy, in violation of Title 18, United States Code,

  Section 1962(d). His Rule 11 plea agreement included an agreed upon

  guideline range of 84 to 105 months. The government agreed to cap the

  sentence at 84 months pursuant to Federal Rule of Criminal Procedure

  11(c)(1)(C). The government also agreed that Graham will receive credit

  from the Bureau of Prisons for the time under pre-trial detention in this

  case, after the end of his sentence on 15-cr-20546.

        The government concurs with the recitation of facts provided in

  the Probation Department’s Presentence Investigation Report [PSR] in

  pages nine through twelve. Nonetheless, certain aspects of the

  defendant’s conduct merit further discussion. First, as charged in Overt

  Act 40, on September 22, 2014, police officers executed a search warrant

  at a house in Charleston, West Virginia, and found Graham inside with

  over $1,000 cash on his person, along with approximately 330 pills of

  Oxycodone 30 mg and a loaded .45 caliber Glock pistol, which co-

  defendant Gooch subsequently admitted belonged to him.


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        Next, as charged in Overt Act 14, Graham was arrested on July 5,

  2015, for a DUI and Felon in Possession of a Firearm. He admitted

  possessing the gun—a .40 caliber handgun, loaded with 12 rounds.

  Originally charged with state charges, Graham potentially faced an

  additional felony charge for a third DUI offense. Graham was found

  asleep as the driver of a still running vehicle that had struck a tree and

  crashed into bushes behind a McDonald’s restaurant. He blew a 0.15

  BAC on a portable breathalyzer. Graham had two prior DUI

  convictions, one each in Michigan and West Virginia.

        Also, as detailed during the first SMB trial (January to March

  2018), the government’s trial evidence showed that Graham agreed to

  procure specific ammunition for Billy Arnold. Arnold, D-3 Eugene

  Fisher, and D-6 Robert Brown were charged with shooting at three

  people inside a car on May 10, 2015 in counts twenty-five through

  twenty-seven. (R. 812, Sixth Superseding Indictment, PgID 4325-27).

  The jury in the second SMB trial (June to August 2018) convicted

  Brown of counts twenty-five and twenty-seven. (R. 1166, US v. Robert

  Brown, Verdict Form, PgID 15262-63). Officers found sixty plus fired

  casings at the scene on May 10 – including .223, .762 and .40 caliber


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  casings. (R. 861, SMB Trial 1 [TR 1], February 1, 2018, PgID 5457). The

  very next day, Arnold texted with Graham – listed as the contact “Life

  Dubbed” in Arnold’s phone:




  (Id., Exhibit 11dd, PgID 5456-57). Here, Arnold texted to Graham a

  specific request for the same caliber of ammunition as used on May 10,

  2015. Graham readily agreed, texting back, “Ok” and then he followed

  with “we all need to change r [sic] numbers.” Changing phone numbers,

  especially after a significant criminal event is common behavior for

  conspirators who want to evade law enforcement detection.

        Finally, on May 13, 2015, Graham texted Arnold when rival gang

  members appeared:




  (Id., Exhibit 11cc, PgID 5455-56). After Arnold offered to come to

  Graham’s aid, Graham declined because he was “strap[ped],” i.e.

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  carrying a gun. Even though the government’s evidence does not show

  that Graham was a shooter in the summer of 2015, the evidence does

  clearly show that he was armed, willing to get ammunition for Arnold—

  the most violent SMB member at the time – and notified Arnold when

  rival gang members were around – when it was “hot.”

          II. DEFENDANT’S PRIOR ARRESTS AND CONVICTIONS

        The government concurs with the detailed recitation of the

  defendant’s prior arrests and convictions as stated in the PSR Part B,

  pages thirteen through fifteen.

                III. THE ADVISORY GUIDELINE RANGE

        The government concurs with the Probation department in

  calculating the advisory guideline range at 84 to 105 months on Count

  One. (Id., ¶ 80). The government recognizes the dispute over the

  analysis of Application Note 4 from U.S.S.G. §2E1.1. The government

  agrees that Probation correctly applied 3 points for Graham’s conviction

  for Felon in Possession of a Firearm pursuant to that provision. (PSR ¶

  50; see also PSR Addendum A-2 to A-4).

        As the government recently argued in US v. Jerome Gooch, 15-cr-

  20652-07:


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        Typically, under U.S.S.G. § 4A1.2(a)(1), a “prior sentence” is “any

  sentence previously imposed upon adjudication of guilt . . . for conduct

  not part of the instant offense,” and therefore a sentence for conduct

  that is part of the instant offense would not count as any criminal

  history points. However, under U.S.S.G. § 2E1.1, the applicable

  guideline provision for RICO, a defendant’s prior convictions are treated

  differently. Specifically, Application Note 4 to that provision provides:

        Certain conduct may be charged in the count of conviction as
        part of a “pattern of racketeering activity” even though the
        defendant has previously been sentenced for that
        conduct. Where such previously imposed sentence resulted
        from a conviction prior to the last overt act of the
        instant offense, treat as a prior sentence under
        §4A1.2(a)(1) and not as part of the instant offense.


  U.S.S.G. § 2E1.1, App. Note 4 (emphasis added). In other words, “RICO

  presents an exception to the general rule of § 4A1.2(a)(1),” United States

  v. Garecht, 183 F.3d 671, 677 (7th Cir. 1999), and a sentence for conduct

  that is part of the instant offense—i.e., conduct that is part of the

  pattern of racketeering activity—counts towards the criminal history

  score so long as the conviction for it occurred “prior to the last overt act

  of the instant offense.”



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        First, the plain text of Application Note 4 is clear: so long as the

  defendant’s conviction (that was part of the racketeering activity)

  occurred “prior to the last overt act of the instant [RICO] offense,” that

  conviction is scored as a prior sentence for the criminal history

  calculation. It does not include any express limitation that such “last

  overt act” must be committed by, or otherwise personally involve, the

  defendant. In co-defendant Gooch’s case, Probation interpreted the

  Note to require that Gooch be “accountable or involved” in an overt act

  that post-dates his conviction, see PSR Addendum at A-3, but the plain

  language of the Note contains no such restriction.

        Second, persuasive appellate case law supports the government’s

  straightforward reading of the Application Note. In United States v.

  Marrone, 48 F.3d 735, (3d Cir. 1995), defendant Paris, an associate of

  the Genovese Crime Family, appealed his sentence following his

  conviction for RICO conspiracy and other offenses, arguing that a RICO

  predicate act for which he was previously convicted should not have

  counted towards his criminal history score. Id. at 736. Specifically,

  Paris argued that Application Note 4 to § 2E1.1 did not apply and that

  his prior bribery sentence did not result “from a conviction prior to the


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  last overt act of the instant offense” because he had pleaded guilty to

  the bribery on a date after the date of the last overt act charged in the

  indictment. Id. at 739. The Third Circuit rejected his argument,

  finding that “Application Note 4 refers to the last overt act of the

  offense, not the last act charged in the indictment,” and upheld the

  district court’s finding that the last overt act of the offense was an act

  by Paris’ co-defendant, Marrone. Id. at 739–40. Of particular relevance

  here, the Third Circuit specifically rejected Paris’ claim that his co-

  defendant’s overt act was not chargeable to him because it was not

  reasonably foreseeable, noting that “Application Note 4 does not refer to

  the last act chargeable to the defendant, and Paris has cited no authority

  to support such a requirement.” Id. 739 n.6 (emphasis added).

        Similarly, in United States v. Benabe, 436 Fed. App’x. 639, 2011

  WL 3624961 (7th Cir. 2011), the Seventh Circuit addressed Application

  Note 4’s provision allowing racketeering conduct for which a defendant

  has been sentenced to be counted in the criminal history as a prior

  sentence, noting that “[t]he only requirement for such treatment is that

  the conviction for the conduct predate the last overt act of the charged

  conspiracy.” 436 Fed. App’x. at 661 (emphasis added). In that case,


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  defendant Susinka appealed his sentence for RICO conspiracy on

  various grounds, including arguing that his PSR improperly assigned

  criminal history points for predicate firearm and cocaine convictions

  that were part of the pattern of racketeering activity. The Court

  dismissed this claim, observing that defendant “Susinka was convicted

  of cocaine distribution and possession of a firearm in April 2002, and

  the [street gang] Insane Deuces’ racketeering activity continued well

  after that.” Id. at 661 (emphasis added). See also United States v.

  Robinson, 354 Fed. App’x. 518, 521, 2009 WL 4249851 (2d Cir. 2009)

  (“where a prior conviction is charged as an overt act in support of a

  RICO conspiracy, and is followed by additional overt acts, a sentencing

  court may employ the prior conviction to support a finding of career

  offender status”) (emphasis added). But see United States v. Morales,

  655 F.3d 608, 639 (7th Cir. 2011) (addressing U.S.S.G. § 2E1.1 cmt. n. 4

  and finding that “[b]ecause [defendant] was personally active in the

  racketeering conspiracy after the date of his most recent criminal

  conviction . . . the district court did not err in including these four

  sentences in his criminal history.”).




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        Third, and finally, the government’s reading of Application Note 4

   is consistent with Congress’s and the Sentencing Commission’s unique

   treatment of racketeering offenses. As the Third Circuit noted in

   Marrone, “Congress did not intend RICO to be a substitute for the

   predicate offense, but instead intended to create separate offenses for

   the predicate acts and the substantive RICO charge.” 48 F.3d at 738

   (internal citation and quotation marks omitted). In that court’s view,

   Application Note 4 was therefore consistent with Congress’s intent

   because “[a]lthough a predicate act constitutes an element of a RICO

   violation, the previously convicted RICO offender is in effect a repeat

   offender who breaks the law once by committing a predicate act and

   again by engaging in a pattern of racketeering activity.” Id. at 738.

        Graham pleaded guilty on December 15, 2015 for the Felon in

   Possession of a firearm charge in Overt Act 14, the last overt act that

   specifically identifies Graham. However, co-defendants continued to

   commit eight Overt Acts in furtherance of the RICO conspiracy that

   were foreseeable to Graham on December 15, 2015 and thereafter.

   Graham was not ignorant of the violence and threats by SMB,

   especially towards witnesses. Overt Act 118 speaks specifically to a co-


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   defendant threatening a perceived cooperating witness. And, Overt Act

   114 involves a Facebook post made by D-21 Martez Hicks on February

   18, 2016, showing Quincy Graham holding a stack of US Currency.




   (R. 861, TR I, February 1, 2018, PgID 5408; TR I, February 14, 2018,

   Exhibit 177, page 7).




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        At the sentencing of Jerome Gooch on February 7, 2019, this

   Court stated that it tended to agree with the government’s legal

   analysis of Section 2E1.1, Application Note 4, but that under the

   specific circumstances of Gooch’s case found that his last conviction

   should not be scored as three points. The government maintains that its

   analysis of 2E1.1 is sound pursuant to the plain reading of the guideline

   provision and case law from other circuits. This Court should adopt the

   PSR’s criminal history calculation and assign 3 points for Graham’s FIP

   conviction.

                         IV. LAW AND ARGUMENT

   A.   NATURE AND CIRCUMSTANCES OF THE OFFENSE AND
        HISTORY AND CHARACTERISTICS OF THE DEFENDANT, 18
        U.S.C. § 3553(a)(1).

   1.   Nature and Circumstances of the Offense.

        The Court has presided over two trials detailing the SMB gang’s

   racketeering activity. SMB has perpetrated shootings and violence,

   intimidated residents, and sowed fear on the east side of Detroit for well

   over a decade. What’s more, SMB’s narcotics distribution activities

   strike at the heart of the city of Detroit and the opioid epidemic in West

   Virginia. There is no justification for the territorial mindset and


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   willingness to combat fellow citizens whose only fault was living on the

   wrong mile road.

           Quincy Graham was an older member of SMB, a “55.”

   Photographs show Graham with fellow SMB members as far back as

   2004:




   (Exhibit 298w, TR 1, February 12, 2018, page 73). In the photograph

   are, left to right, Michael Rogers, Devon Patterson, Johnathan Murphy,

   Julian Patterson and Quincy Graham. (Id.). Graham actively joined and

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   promoted the harmful, violent culture perpetrated by his fellow gang

   members. Sometime between February 2015 and May 1, 2015, Billy

   Arnold took a video of several SMB members, including Graham and

   Devon McClure, free-style rapping. Graham, in the Piston’s hat, proudly

   extolled the violence and peril for entering SMB’s territory. This video

   belies any defense claim that Graham was simply a drug dealer, set

   apart from the gang’s other, violent activities.




   (Exhibit 6, TR 1, February 5, 2018, pages 6-8).

   2.   History and Characteristics of the Defendant.

        The defendant has a long criminal history, book-ended by his two

   felony convictions over ten years apart. In the interim, Graham

   repeatedly continued his criminal behavior, whether in Michigan or

   West Virginia. He graduated from selling street-level amounts of

   cocaine in Detroit to transporting and selling hundreds of opioid pills in

   West Virginia. He has a history of failure to appear, failing to appear


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   for court three times. (15-20546, R. 20, Order Denying Defendant’s

   Motion for Revocation of Detention, PgID 47). He has not had any

   verifiable employment. Graham has issues with alcohol abuse. His

   judgement has shown to be poor and dangerous.

   B.   THE    SENTENCE  IMPOSED   MUST   REFLECT   THE
        SERIOUSNESS OF THE OFFENSE, PROMOTE RESPECT FOR
        THE LAW, AND PROVIDE JUST PUNISHMENT, 18 U.S.C.
        §3553(a)(2)(A).

        The guidelines properly reflect the seriousness of the offense.

   Graham’s only meaningful incarceration has been his sentence for the

   Felon in Possession. The Court must sentence Graham for his decade of

   criminal activity.

   C.   THE SENTENCE IMPOSED MUST AFFORD ADEQUATE
        DETERRENCE TO CRIMINAL CONDUCT AND PROTECT THE
        PUBLIC FROM FURTHER CRIMES OF THE DEFENDANT, 18
        §3553(a)(2)(B) AND (C).

        Street gang activity, and transporting and selling opioids from

   Detroit to other states, is a rampant problem today. The Court should

   fashion a sentence for Graham sufficient to deter him from further

   criminal conduct and deter others from engaging in the same behavior.

   D.   AVOIDING UNWARRANTED SENTENCE DISPARITIES
        AMONG DEFENDANTS WITH SIMILAR RECORDS WHO
        HAVE BEEN FOUND GUILTY OF SIMILAR CONDUCT, 18
        U.S.C. §3553(A)(6).
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        Eighty-four months does not create an unwarranted sentence

   disparity for defendants with similar records. Graham has a longer

   criminal history than co-defendant Jerome Gooch, and the Court

   sentenced Gooch to 75 months for similar activity. Moreover, as

   detailed above, there is greater evidence of Graham’s knowledge of, and

   assistance to, Billy Arnold’s violent conduct than there is for Gooch.

                              V. CONCLUSION

        The government moves this Honorable Court to sentence the

   Defendant to 84 months on Counts One with the United States Bureau

   of Prisons for the reasons discussed above.



                                            Respectfully submitted,

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                        CERTIFICATE OF SERVICE

        I hereby certify that on February 14, 2019, I electronically filed the

   foregoing document with the Clerk of the Court using the ECF system

   which will send notification of such filing to the following:

                    Michael Rataj, Attorney for Defendant


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